             Case 5:24-cv-00703-NC Document 9 Filed 02/29/24 Page 1 of 1


 Matthew S. Warren (State Bar No. 230565)
 Erika H. Warren (State Bar No. 295570)
 Francesca M. S. Germinario (State Bar No. 326208)
 24-703@cases.warrenlex.com
 WARREN KASH WARREN LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114
 +1 (415) 895-2940
 +1 (415) 895-2964 facsimile
 Attorneys for Defendant Discord Inc.


                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                              SAN JOSE DIVISION


 DISPLAY TECHNOLOGIES, LLC,                )                  Case No. 5:24-cv-00703-NC
                                           )
    Plaintiff,                             )                  NOTICE OF ATTORNEY APPEARANCE
                                           )                  OF ERIKA H. WARREN
 v.                                        )
                                           )
 DISCORD INC.,                             )
                                           )
    Defendant.                             )
 _________________________________________ )


          Defendant Discord Inc. hereby notifies the Court and the parties to this action that Erika H.

 Warren of Warren Kash Warren LLP, an attorney admitted to practice before this Court, appears as

 counsel for defendant Discord Inc. in this matter. Please serve all pleadings, correspondence, and other

 materials on Ms. Warren at the above address.

 Date: February 29, 2024                               Respectfully submitted,

                                                       _______________________________________
                                                       Erika H. Warren (State Bar No. 295570)
                                                       WARREN KASH WARREN LLP
                                                       2261 Market Street, No. 606
                                                       San Francisco, California, 94114
                                                       +1 (415) 895-2940
                                                       +1 (415) 895-2964 facsimile
                                                       24-703@cases.warrenlex.com

                                                       Attorney for Defendant Discord Inc.

                                                                                      Case No. 5:24-cv-00703-NC
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                  NOTICE OF ATTORNEY APPEARANCE OF ERIKA H. WARREN
